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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                              CASE NO. 18-62086-CIV-DIMITROULEAS
  DEBORAH LAUFER, Individually,

          Plaintiff,

  vs.

  THE CATO CORPORATION, a Delaware
  corporation dba Cato Fashions,

        Defendant.
  ____________________________________/


                    ORDER DENYING DEFENDANT’S MOTION TO DISMISS


          THIS CAUSE is before the Court on Defendant The Cato Corporations (“Defendant”)’s

  Motion to Dismiss, filed on November 9, 2018. [DE 18] (the “Motion”). The Court has carefully

  reviewed Plaintiff Deborah Laufer (“Plaintiff”)’s Complaint [DE 1], the Motion, Plaintiff’s

  Opposition [DE 19], Defendants’ Reply [DE 20], and is otherwise fully advised in the premises.

  I.      Background 1

          Plaintiff Leborah Laufer is vision impaired and therefore is unable to read computer

  materials and/or access and comprehend internet website information without software specially

  designed for the visually impaired. [DE 1] at ¶¶ 1, 2. She brought this suit against Defendant for

  allegedly violating Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12181

  et seq., by owning and operating a website inaccessible to persons who are visually impaired.

  Title III makes it unlawful to discriminate against disabled persons in the full and equal

  enjoyment of public accommodations. Id. § 12182(a). As an advocate for persons with


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   All facts set forth in the background are according to the allegations of the Third Amended Complaint [DE 25],
  which the Court assumes as true for purposes of this Motion.

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  disabilities, Plaintiff serves as a “tester” who files lawsuits against entities that maintain websites

  he believes are not compliant with the ADA’s requirements. [DE 1] ¶ 3. Plaintiff utilizes JAWS

  Screen Reader software that enables him to read computer materials and access the Internet. Id.

  ¶ 2.

         Defendant owns, leases, leases to, or operates a place of public accommodation which is

  a chain of clothing stores known as Cato Fashions throughout the United States, the State of

  Florida, and Broward County. ¶ 4. Defendant owns, operates, or leases the website

  https://www.catofashions.com (“the website”). Id. ¶ 5. This website supports, is an extension

  of, is in conjunction with, is complementary and supplemental to, Defendant’s clothing stores.

  Id. This website provides information about Defendant's clothing stores, including information

  about the goods, services, accommodations, privileges, benefits and facilities available to

  patrons. Id. Defendant also continually and/or periodically updates and maintains the website.

  Id.

  II.    Standard of Review

         Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a “short and plain

  statement of the claim showing that the pleader is entitled to relief.” This pleading standard

  “does not require ‘detailed factual allegations,’ but it demands more than an unadorned, the-

  defendant-unlawfully-harmed me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

  (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). A pleading that asserts

  mere “labels and conclusions” or “a formulaic recitation of the elements of a cause of action will

  not do.” Twombly, 550 U.S. at 555. And “on the assumption that all the allegations are true

  (even if doubtful in fact),” the factual allegations pleaded “must be enough to raise a right to




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  relief above the speculative level.” Id. “Threadbare recitals of the elements of a cause of action,

  supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

          To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id.

  (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads

  factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Id. This plausibility determination is “a context-specific task that

  requires the reviewing court to draw on its judicial experience and common sense.” Id. at 679.

  “But where the well-pleaded facts do not permit the court to infer more than the mere possibility

  of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled

  to relief.’” Id. (brackets in original) (quoting Fed. R. Civ. P. 8(a)(2)). “The Supreme Court has

  employed a ‘two-pronged approach’ in applying the foregoing principles: first, a reviewing court

  should eliminate any allegations in the complaint that are merely legal conclusions; and second,

  where there are well-pleaded factual allegations, ‘assume their veracity and then determine

  whether they plausibly give rise to an entitlement to relief.’” Boyd v. Warden, Holman

  Correctional Facility, 856 F.3d 853, 864 (11th Cir. 2017) (quoting Iqbal, 556 U.S. at 679).

  III.    Discussion

          Title III of the ADA prescribes, as a “[g]eneral rule”:

                  No individual shall be discriminated against on the basis of disability in the full
          and equal enjoyment of the goods, services, facilities, privileges, advantages, or
          accommodations of any place of public accommodation by any person who owns, leases
          (or leases to), or operates a place of public accommodation.

  42 U.S.C. § 12182(a).

          In the instant Motion to Dismiss, Defendant argues that the Complaint must be dismissed

  for Plaintiff’s failure to plead a nexus between Defendant’s website and its physical locations. In

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  other words, that Plaintiff fails to state a claim because she does not plead factual allegations

  demonstrating that her inability to use the website impeded her access to one of Defendant’s

  physical locations. Defendant cites to several cases from the Southern District of Florida in

  support of its position, including several by the undersigned. See [DE 18].

         However, in an unpublished decision earlier this year in Haynes v. Dunkin' Donuts LLC,

  741 F. App'x 752, 753 (11th Cir. 2018), the Eleventh Circuit reversed this Court for dismissing a

  website inaccessibility complaint for failing to plausibly allege facts demonstrating that his

  inability to utilize defendant’s website was an impediment to plaintiff’s ability to access

  defendants’ physical stores and enjoy the goods and services offered there. While this Court

  does not necessarily agree with the Haynes opinion, it is persuasive authority and the Court will

  follow it unless the Eleventh Circuit indicates otherwise. Accordingly, the Court finds that

  Plaintiff has stated a plausible claim for relief under Title III of the ADA at the pleading stage.

  IV.    Conclusion

         For the reasons stated, it is ORDERED AND ADJUDGED as follows:

         1.      Defendant’s Motion to Dismiss [DE 18] is DENIED;

         2.      Defendant shall file an answer to the Complaint within fourteen (14) days.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 4th day of December, 2018.




  Copies furnished to:
  Counsel of Record




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